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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                          Case No. 15-cv-20457
                                                Hon. Matthew F. Leitman
v.

D1, DWAYNE DUPREE,

          Defendant.
________________________________________________________________/

       ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS
         IDENTIFICATION EVIDENCE AND REQUEST FOR
              AN EVIDENTIARY HEARING (ECF #69)

      Before the Court is Defendant Dwayne Dupree’s “Motion to Suppress

Identification Evidence and Request for an Evidentiary Hearing” (the “Motion to

Suppress”). (ECF #69.) IT IS HEREBY ORDERED that the Motion to Suppress

is DENIED for the reasons stated on the record at the conclusion of the hearing

held on July 27, 2016.


                                    /s/Matthew F. Leitman
                                    MATTHEW F. LEITMAN
                                    UNITED STATES DISTRICT JUDGE

Dated: July 27, 2016
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on July 27, 2016, by electronic means and/or ordinary
mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (313) 234-5113
